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                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF MISSOURI



 IN RE BLUE BUFFALO COMPANY, LTD.                          Case No. 14-md-02562-RWS
 MARKETING AND SALES PRACTICES
 LITIGATION                                                DECLARATION OF SCOTT A.
                                                           KAMBER IN SUPPORT OF
 RELATES TO: ALL CASES                                     PLAINTIFFS’ APPLICATION
                                                           FOR ATTORNEYS FEES AND
                                                           EXPENSES



                                 DECLARATION OF SCOTT A. KAMBER

          I, Scott A. Kamber, declare as follows:

          1.!       I am an attorney licensed to practice before all courts of the State of New York,

 have been admitted to practice before this court pro hac vice, and am Managing Partner of the

 law firm of KamberLaw LLC and KamberLaw, LLP (collectively “KamberLaw”). I serve as

 Class Counsel, Settlement Counsel, and Chair of the Executive Committee of Plaintiffs’

 counsel in the above-captioned litigation, and make this declaration in support of Plaintiffs’

 Application for Attorneys Fees.

          2.!       As Class Counsel and Settlement Counsel, I am the attorney that is primarily

 responsible for representing Plaintiffs in this action. However, in addition to the support of

 highly experienced counsel at KamberLaw, including Deborah Kravitz, the matter was also ably

 prosecuted by a team of highly esteemed members of the Executive Committee, which included

 John Simon, The Simon Law Firm, P.C., as Liaison Counsel, Don M. Downing, Gray, Ritter &

 Graham, P.C., David Steelman, Steelman, Gaunt & Horsefield, and Joseph I. Marchese, Bursor

 & Fisher, P.A. (collectively, the “Executive Committee” or “Leadership”). The firm resumes

 and qualifications of each of these firms and individuals were presented to the Court on

 November 6, 2014, as part of the Motion for Appointment of Interim Lead Counsel, Dkt. 11,


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 Exs. 1-5.

          3.!       I have actively participated in all aspects of this litigation, including the

 negotiation of the settlement, and am fully familiar with the proceedings in the matter in which

 the parties seek resolution. If called upon, I am competent to testify that the following facts are

 true and correct based upon my personal knowledge. It was the responsibility of my Firm and

 me to ensure that the litigation was conducted efficiently and to minimize duplication of efforts.

 See Order Appointing Interim Class Counsel, Liaison Counsel, and Plaintiffs’ Executive

 Committee, Dkt. No. 35, at ¶¶ 3(h) and 5; The Manual for Complex Litigation (4th ed. 2004) at

 ¶40.22(1.d) (Sample Order). I also sought to involve members of the Executive Committee in

 ways that would ensure that, if the case went to trial, the attorneys who would actively

 participate with Class Counsel at trial, Mr. Downing, Mr. Steelman and Mr. Simon, would be

 involved in the strategy decisions that would impact their ability to successfully try the case.

 THE SUBSTANTIVE WORK REQUIRED TO SUCCESSFULLY LITIGATE THIS MATTER

          4.!       From the inception of this litigation, Plaintiffs’ counsel has aggressively

 prosecuted this case and vigorously represented the best interests of the Plaintiffs and Class

 Members. KamberLaw, with the support of the Executive Committee, has taken the lead in the

 prosecution of the litigation, including investigating the facts, independently testing the Blue

 Buffalo products at issue, participating in all 11 hearings and conferences, coordinating all

 activities amongst Plaintiffs’ counsel, reviewing and analyzing documents, assembling and

 drafting pleadings, conducting legal research and discovery, and communicating with counsel for

 Blue Buffalo and third-parties.

          Early Investigation and Work Regarding Consolidation and Appointment of Counsel

          5.!       The origins of the case date to May 6, 2014, when Nestle Purina filed an antitrust



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 action against Blue Buffalo (the “Purina Lanham Act” action). While information gleaned from

 the Purina Lanham Act case was certainly helpful to the prosecution of this matter, I, along with

 the Leadership, undertook our own independent investigation of the facts and pursued an

 independent litigation agenda commensurate with our fiduciary duties to Plaintiffs and Class

 Members.

          6.!       Shortly thereafter, consumers in several states filed a series of class actions

 (challenging the veracity of certain claims made by Blue Buffalo Company, Ltd. (“Blue

 Buffalo”) regarding the ingredients in its pet foods. In addition to the ordinary factual inquiry

 that precedes the initiation of such a case, Plaintiffs’ counsel here also engaged in substantial

 additional investigation, which included laboratory testing of Blue Buffalo Products, with respect

 to a variety of the ingredient claims made by Defendant. Independent testing of the Blue Buffalo

 products initially took place before the JPML proceedings described below. More extensive

 testing took place subsequently as part of Class Counsel’s investigation. See infra at ¶21.

          7.!       On June 16, 2014, Blue Buffalo filed its initial Motion to Transfer before the

 Judicial Panel on Multidistrict Litigation (“JPML”). In the wake of that filing, Class Counsel (as

 well as several members of the eventual Executive Committee) filed a Notice of Appearance

 before the JPML.           In addition, Class Counsel drafted and filed a substantive Response in

 Opposition to Blue Buffalo’s Motion, wherein Class Counsel argued that the panel should both

 coordinate the class actions with the pending Purina Lanham Act case (a position that was not

 advanced by Blue Buffalo), and that it should transfer the consolidated and coordinated actions

 to the Eastern District of Missouri.

          8.!       The JPML set a hearing on the Blue Buffalo MDL for October 2, 2014 in

 Louisville, KY. Class Counsel duly filed a Notice of Presentation of Oral Argument, and



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 traveled to Louisville to present argument. I was chosen by Plaintiffs’ counsel in attendance to

 argue for the Plaintiffs, advocating for the MDL to be consolidated in the Eastern District of

 Missouri. Ultimately, Class Counsel prevailed in its arguments to both coordinate the Purina

 Lanham Act case with the class actions, and to have the consolidated and coordinated actions

 transferred to this district: on October 17, 2014, the JPML entered a Transfer Order that

 centralized these actions against Blue Buffalo in this Court. See Dkt. No. 1. As detailed below, I

 have excluded from this Application all of the hours and expenses expended in the MDL process.

          9.!       This Court entered the Order Upon Transfer on October 31, 2014 (Dkt. No. 5),

 which initiated a process of various Plaintiffs’ counsel attempting to self organize to manage

 litigation of the class actions. I entered my appearance on November 6, 2014 (Dkt. No. 9) and

 played an active role in trying to reach consensus with other counsel to create a structure that

 would efficiently and effectively represent class members. Consensus was unable to be reached,

 which necessitated a vigorous round of motion practice (see Dkt. Nos. 11, 13, 19, 23, and 25).

 As detailed below, I have excluded from this Application all of the hours and expenses expended

 in the selection of Interim Class Counsel.

          10.!      While that process was still ongoing, the Court entered a further Order on

 November 14, 2014 setting an Initial Case Conference for December 15, 2014. In accordance

 with the Court’s Order, my firm and I worked with other Plaintiffs’ counsel to reach consensus

 on and file a statement of the case and a proposed agenda for the December 15, 2014 conference.

 Dkt. No. 27.

          11.!      On December 15, 2014, the Court held a status conference and heard argument on

 the motions for lead counsel. Subsequently, on December 16, 2014, the Court entered an Order

 directing that counsel for Plaintiffs confer and seek consensus on candidates for lead counsel,



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 liaison counsel, and an executive committee. The Court also set a Rule 16 conference for

 February 24, and directed the parties to develop a Joint Scheduling Plan. Dkt. No. 31.

          12.!      Between December 16 and December 22, 2014, my firm and I redoubled our

 efforts to seek consensus on a leadership structure in accordance with the Court’s Order, and

 filed a report regarding the same on December 22, 2014. Dkt. No. 34. Those efforts ultimately

 resulted in the current leadership structure, memorialized by the Court in its Order Appointing

 Interim Class Counsel, Liaison Counsel and Plaintiffs’ Executive Committee on December 23,

 2014 (Dkt. No. 35), that has managed the case through the present.

          Drafting of Consolidated Complaint and Discovery Plan

          13.!      Under my direction, Leadership immediately set to work on preparing the

 Consolidated Complaint. My firm and I delegated portions of the research, further investigation,

 and drafting of the consolidated complaint, and supervised and participated in all aspects of that

 effort, including the vetting and evaluation of potential named class representatives. As part of

 the process, counsel engaged in an extensive analysis of consumer protection statutes, and

 express and implied warranty claims under the laws of all 50 states, as well as research

 concerning the applicability of Magnuson-Moss Warranty Act claims, and common-law unjust

 enrichment claims.          Further, Leadership, with the assistance of other supporting Plaintiffs’

 counsel, engaged in detailed discussions with putative class members, including those class

 members ultimately selected as class representatives.

          14.!      On January 30, 2015, Plaintiffs filed their Consolidated Class Action Complaint

 asserting claims against Blue Buffalo under the Magnuson-Moss Warranty Act, Missouri

 Merchandising Practices Act, New York General Business Law § 349 (New York Deceptive

 Trade Practices Act), New York General Business Law § 350 (New York False Advertising



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 Law), California Civil Code § 1750 et seq. (Consumers Legal Remedies Act or “CLRA”),

 California Business and Professions Code § 17200 et seq. (Unfair Competition Law or “UCL”),

 California Business and Professions Code § 17500 et seq. (False Advertising Law or “FAL”),

 New Jersey Consumer Fraud Act, New Jersey Truth-In-Consumer Contract, Warranty and

 Notice Act, Illinois Unfair Practices Act, Florida’s Deceptive and Unfair Trade Practices Act,

 Ohio Consumer Sales Practices Act, and for Breach of Express Warranty, Breach of Implied

 Warranty of Merchantability, and Unjust Enrichment.

          15.!      With the Consolidated Complaint filed, my firm and I focused on developing a

 plan for prosecuting the case to a successful conclusion. My firm and I, with the advice and

 assistance of the Executive Committee, worked diligently to develop an aggressive Rule 16 plan

 to efficiently and expeditiously move the case forward. To that end, my firm and I engaged in

 detailed and lengthy negotiations with Defendant’s counsel on a joint Rule 16 discovery plan.

 The parties had numerous calls to meet and confer on a joint plan, and exchanged multiple draft

 plans. The Joint Scheduling Plan was filed by the Parties on February 17, 2015. Dkt. No. 37.

 Notably, through the substantial efforts of counsel, the parties were able to reach consensus on

 all facets of the discovery plan.

          16.!      I appeared in person for the Rule 16 Conference on February 24, 2015.

 Immediately following the conference, the Court entered a Case Management Order setting a

 schedule for the matter (Dkt. No. 41), and initiating the discovery phase of the litigation.

          Discovery Work

          17.!      Shortly thereafter, Leadership set to work on collecting information from the

 named representatives and drafting Initial Disclosures. This effort was shared by all of the firms

 who had retained clients selected to serve as representative plaintiffs. I, along with members of



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 my firm, coordinated all assignments. Initial disclosures were exchanged on March 10, 2015.

          18.!      My firm and I then began informal discovery efforts to collect information

 already developed in connection with the coordinated Purina Lanham Act case, entered into an

 intense phase of negotiation over an appropriate Protective Order, and began drafting formal

 discovery. The collection and review of the Purina Lanham Act case materials was intensive,

 including in person meetings and review of filings and produced materials. The objective in

 obtaining and reviewing that material was two-fold: (1) to gain an understanding of what had

 been developed in that action so not to duplicate efforts; and (2) to independently evaluate the

 materials as fiduciary for the Class. As Class Counsel I always understood that the goals and

 motivations of Purina were not necessarily fully aligned with the interests of the Class Members,

 who were consumers of Blue Buffalo products.

          19.!      After much negotiation, a Protective Order was submitted on April 9, 2015 (Dkt.

 No. 46), and so Ordered by the Court on April 10, 2015. Dkt. No. 47. Following later

 developments in the case, Class Counsel initiated an effort to amend the Protective Order. Such

 amendment was negotiated with the parties in this action, as well as the parties to the Purina

 Lanham Act case, and submitted to the Court on June 23, 2015 (Dkt. No. 70). The Amended

 Protective Order was an important development because it would allow Class Plaintiffs in this

 action to obtain discovery produced by all parties in the Purina Lanham Act case. The Court so

 Ordered the Amended Protective Order on June 24, 2015. Dkt. No. 71.

          20.!      In summary, the discovery phase of the litigation, which spanned March 2015

 through mid-December 2015 (although at a considerably slower pace after mediation, which

 included discovery from third parties that was not received until after the initial mediation)

 accounted for the great majority of time and expense incurred in this litigation. It included the



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 exchange of information between the parties through formal discovery processes, including

 written discovery; meeting and conferences between representatives of the parties; interviews of

 numerous potential witnesses; retention of an expert; service of third-party subpoenas (which

 entailed substantial follow-up and negotiation); obtaining and reviewing key transcripts of

 depositions taken in the Purina matter; noticing and preparing for numerous depositions; and

 negotiating a sophisticated ESI protocol. See Dkt. No. 54. In addition, more than 157,000

 documents were reviewed and coded, many of which were highly technical. The document

 coding process was managed and supervised by my firm and me, as well as several members of

 the Executive Committee. While the great majority of the coding was performed by my firm,

 document reviewers were also provided by several firms, including Gray Ritter and Graham, the

 Simon Firm, and Steelman Gaunt and Horsefield,. All reviewers had common training on the

 elements of the case required for the coding, and were supervised to ensure consistent results of

 the review. In all, approximately 20 reviewers worked to complete the document review. This

 entire process was completed in a manner to ensure that the reviewed documents were useable

 for litigation purposes, including class certification and trial, as well as to provide the

 information necessary to maximize leverage at mediation and/or confirm elements of the

 settlement prior to its submission for approval to the Court.

          21.!      During the discovery process, Leadership commissioned independent testing of

 certain of Blue Buffalo’s Products to verify the allegations of the complaint and test

 representations made by Blue Buffalo regarding the extent of the issues with the True Blue

 Promise. I personally directed these efforts, including the interview of experts, visiting the

 testing facility, meeting with expert and laboratory personnel on testing protocols and,




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 ultimately, compilation of the results of the testing.1 In addition, my firm and I were responsible

 for efforts addressing the tracing of product purchases and the ultimate identification of products

 that may have contained ingredients that violated the True Blue Promise.

           22.!     In total, the discovery phase of the litigation accounted for 72 percent of my

 firm’s time in the litigation (2,569 out of 3,572 hours) and 63 percent of the time expended by

 Leadership as a whole. My firm and I directly assigned all discovery related tasks to ensure

 there was no duplication of efforts. Further, we assigned work to firms who committed to having

 substantive review and coding work assigned to attorneys with a minimum of three years’

 experience, and then normalized all document reviewer billing rates at $300. We also traced the

 efficiency of reviewers, a process that resulted in the review of over 157,000 documents in 4147

 hours, yielding a review and coding rate of 38 documents per hour. The information from these

 documents was utilized in the selection of products to be tested, the process of tracing raw

 materials across products, confirming representations made by Blue Buffalo during the

 settlement process, selection of witnesses, preparing deposition materials and preparing class

 certification papers.        We also used advanced analytic tools to examine the documents for

 patterns, which assisted the review process and helped us ensure that all responsive documents

 were produced. This case could not have been successfully litigated past class certification

 without the discovery and document review process.

           Court Appearances and Third-Party Litigation

           23.!     In addition to the court conferences referenced above, my firm prepared agenda

 for and I attended status conferences set by the Court on April 21, 2015 (Dkt. No. 48), May 19,

 2015 (Dkt. No. 57), June 15, 2015 (Dkt. No. 62), July 23, 2015 (Dkt. No. 100), August 20, 2015



 1
     This expert was hired as a consulting expert and not as a testifying expert.

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  (Dkt. No. 122), and September 24, 2015 (Dkt. No. 139). To date, I have made 11 appearances

  before this Court on this Matter. I also attended the May 8, 2015 hearing in the Purina v. Blue

  Buffalo matter that I believed would be particularly relevant to the litigation of this case. I did

  not bill my expenses related to my attendance at that hearing.

           24.!      As a result of extensive third-party practice that developed over the course of the

  litigation (with numerous counter and cross-claims being filed by and against parties newly

  added to the case) it became necessary to amend the schedule in the case. Class Counsel had to

  diligently endeavor to keep the class action portion of the case moving forward while the other

  parties sought to build additional time into the schedule to accommodate the extensive third-

  party motion practice in which they were engaged. As a result, Class Counsel negotiated

  amendments to the schedule with all the parties that had entered case, resulting in Amended Case

  Management Orders being entered by the Court on June 15, 2015 (Dkt. No. 64) and August 20,

  2015. Dkt. No. 124.

           25.!      During this time period, Leadership also attended to issues relating to tag-along

  actions that were filed (see e.g. Dkt. Nos. 125 and 150), and monitored both the third-party

  litigation underway in this action, as well as continuing to monitor developments in the Purina

  Lanham Act case.

           26.!      Leadership, under the direction of my firm and me, was far along in preparing a

  motion for class certification, in anticipation of making such motion in December 2015. I

  believe this effort was critical not only for the success of the litigation, but also for maximizing

  leverage at the mediation. The success of the mediation would in many ways depend on

  Plaintiffs being ready, willing and able to move for class certification in a timely manner if the

  mediation was not successful. It was critical that we entered the mediation in a frame of mind



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  where obtaining the best possible relief for the Class settlement was a choice, and not a

  necessity.

           Settlement Negotiations

           27.!      Beginning in October 2015, Defense counsel and I participated in a series of

  settlement discussions, by phone and in-person in the context of a private and confidential

  mediation before Judge Andersen (Ret.) in Chicago, Illinois, which entailed substantive, arms-

  length negotiations. This process involved: the review of the substantive facts developed; a

  comprehensive understanding of Eighth Circuit settlement standards; and input and interaction

  with the Class Representatives regarding the terms of the settlement. There was also a constant

  dialogue among Leadership to ensure that a settlement would only be accepted if it was in the

  best interest of Class Members, was worthy of the approval of this Court and the Eighth Circuit,

  and would likely would be met with enthusiasm by the named Representative Plaintiffs and

  Class Members. The efforts of Gray, Ritter & Graham were instrumental in developing the

  relevant legal standards and working with Class Counsel to ensure that the Settlement complied

  with all aspects of Eighth Circuit law.

           28.!      During an in-person mediation on October 26, 2015, the parties candidly

  expressed the strengths and weaknesses of their positions in a full and professional process

  spearheaded by (Ret.) Judge Andersen. Although an agreement was not reached on the first day

  of mediation, the parties, with the continued assistance of Judge Andersen, were able to negotiate

  a Settlement that provides meaningful cash compensation to Settlement Class Members, as well

  as injunctive relief, and avoid the risks and delay of further litigation.       I believe that the

  substantive work accomplished by Leadership and its collective trial experience created a

  credible threat of success in ongoing litigation, which was critical in obtaining a settlement of the



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  quality of the one presented.

           29.!      After the mediation in late October, the parties negotiated with one another to

  flesh out the settlement framework and details of its proposed implementation. The parties

  continued to negotiate, exchange information regarding settlement details, examine approaches

  to potential injunctive relief, and sought the continued assistance of the mediator. This process

  included detailed negotiations of every aspect of the notice program, as there was great tension

  between the needs of Class Counsel to present a notice program that satisfied all due process

  requirements and ensured the best practicable notice to the Class, and the desire of Blue Buffalo

  for the notice program to be sensitive to its brand integrity.

           30.!      Ultimately, as a result of those protracted efforts, the Parties entered into a

  Settlement Agreement that called for Blue Buffalo to pay $32 million into a settlement fund for

  compensation to Settlement Class Members as monetary benefits. The Stipulation of Settlement

  and all supporting papers were submitted to the Court as part of the Motion for Preliminary

  Approval of Class Settlement, Certification of Settlement Class, Permission to Disseminate Class

  Notice, and Leave to File a First Amended Consolidated Complaint. Dkt. Nos. 158-160.

           31.!      In addition, there was substantive discussion and negotiation regarding injunctive

  relief. Injunctive relief was material to Plaintiffs because it was important that the settlement

  include provisions that would help prevent this type of misrepresentation from happening again.

  With that in mind, negotiations with defense counsel regarding injunctive relief resulted in the

  Settlement Agreement providing that Blue Buffalo will no longer represent to the public that the

  Blue Buffalo Products do not include chicken or poultry by-product meal unless or until: (a) all

  specifications for Blue Buffalo Products have been reviewed to ensure that they are consistent

  with all packaging claims found on the product and representations regarding the products found



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  on the Blue Buffalo website; and (b) Blue Buffalo has reviewed its supplier relationships and has

  instituted practices to ensure that all materials provided by its suppliers comply with the

  applicable product specifications.

           32.!      The settlement process was overseen by (Ret.) Judge Andersen. All discussions

  regarding all substantive aspects of settlement, incentive fees, and Plaintiffs’ counsel fees were

  done through the participation of Judge Anderson (either telephonically or in person). At no

  point prior to reaching agreement on the substantive terms of settlement did the parties discuss

  the amount of any incentive fees to representative Plaintiffs or payments to Plaintiffs’ counsel.

           33.!      The parties selected Heffler Claims Group (“HCG”), a qualified and reputable

  third-party administrator, to issue Notice to Class Members, receive exclusion requests, process

  claims, respond to inquiries, issue settlement checks to claimants, and conduct other activities

  relating to class notice and administration. This Court approved the selection of HCG as

  Settlement Administrator as part of the Preliminary Approval process. My firm and I have been

  actively involved in supervising and managing HCG, and its administration of the notice

  program and the claims process. This has entailed: reviewing claims reports on a weekly basis;

  analyzing reports on impressions and other metrics regarding the success of notice; discussions

  regarding any improvements that could be made to the notice program and claim stimulation

  program; and monitoring the operations of the Interactive Voice Response (toll-free call center)

  process and class member communications to ensure that any issues with the notice or claims

  process were remedied promptly. These efforts have been by telephone, by email and in person.

  THE TIME AND EXPENSE EXPENDED BY LEADERSHIP

           34.!      To date, Class Counsel and the Executive Committee have prosecuted this action

  on a wholly contingent basis since commencing the litigation in May 2014. During the past



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  twenty-four months, Leadership has advanced significant time and expense on behalf of the

  Plaintiffs and the Class. In doing so, Class Counsel has long borne the risk of an unfavorable

  result. Neither Class Counsel nor the members of the Executive Committee have been paid for

  their extensive efforts, or been reimbursed for costs incurred. The efforts required in this matter

  required my firm, and upon information and belief, each of the other firms in Leadership, to

  forego other opportunities in order to fulfill their responsibilities in this matter. In connection

  with Final Approval, Class Counsel now seeks an award of attorneys’ fees.

           35.!      Class Counsel applies for a fee and expense award of $8,000,000. This amount

  represents 25% of the total $32 million value of the Settlement Fund, exclusive of interest

  accumulated, and was the amount set forth in the Notice.

           36.!      I believe that this fee award is reasonable in relation to the substantial results

  achieved for the Settlement Class Members and the efforts of counsel. Further, such an award is

  supported by the benchmarks for fee awards, costs and expenses in this District and the Eighth

  Circuit.

           37.!      Throughout the mediation and negotiation efforts, and in advising our clients of

  the proposed settlement, my firm and I have at all times considered the fairness, reasonableness

  and adequacy of the settlement for the Class, taking into account: the strength of Plaintiffs’ case;

  the risk, expense complexity and likely duration of any further litigation; the risk of certifying a

  class and then maintaining class action status through trial; the amount offered in settlement; and

  the experience and views of Plaintiffs’ counsel. Against the backdrop of counsel’s collective

  experience in prosecuting complex class actions, we have considered the claims set forth in the

  Complaint and our continued confidence in the merit of those claims, the scope of relief offered

  in the settlement compared to the potential relief at the conclusion of litigation, and the risks and



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  costs of continued litigation. Taking these factors into account, it is my opinion that the

  proposed settlement is fair, reasonable and adequate, well within the range of possible

  approval, and therefore deserving of the Court’s Final Approval.

           38.!      KamberLaw and the other member firms of the Executive Committee have

  diligently investigated and prosecuted this matter, dedicating substantial time, effort, resources,

  and expertise to the investigation of the claims at issue in the action, and have successfully

  negotiated the settlement of this matter to the benefit of the Class. The qualifications of Class

  Counsel and the Executive Committee and their extensive experience in prosecuting complex

  class actions and other complex litigation, including firm resumes, were submitted to the Court

  prior to its appointment of Interim Lead Counsel, and are incorporated here by reference. See

  Dkt. No. 11.

           39.!      Throughout this litigation I have had regular communications with members of

  the Executive Committee regarding their expenditure of time and expense. Further, I, along with

  my colleague Deborah Kravitz, assigned all work in the case (usually through team calls and

  emails), and continuously monitored the work being performed by the other firms in Leadership

  in order to ensure consistent quality, that each firm was able to contribute constructively, and

  that there was no unnecessary duplication of efforts.

           40.!      In preparing the fee application and this declaration, I asked each member of the

  Executive Committee to provide me with a final reporting of the total hours and expenses

  expended by their respective firms. In addition, I asked that each complete a grid that would

  show how many hours their firms spent on each phase of litigation. This was done so as to

  provide this Court sufficient information to ensure that there was no duplication of effort and that

  a reasonable amount of time was expended during each phase of the litigation, in a form that did



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  not have to be provided in camera. I have been informed by each member of the Executive

  Committee that, if asked, they would provide a declaration or confirm under oath that the time

  and expenses summarized in the grid accurately reflects the contemporaneous time and expense

  records of their respective firms.

           41.!      Based on my knowledge and experience, the hourly rates charged by Leadership

  are within the range of market rates charged by attorneys of equivalent experience, skill, and

  expertise. Each Firm has confirmed to me that the rates charged here are the same hourly rates

  that are actually charged to regular hourly clients, if any, who have retained the firms for non-

  contingent matters, and which are actually paid by those clients. Each firm has confirmed that,

  as a matter of firm policy, they do not discount regular hourly rates for non-contingent hourly

  work. I have personal knowledge of the range of hourly rates typically charged by counsel in our

  field in New York, California, and throughout the United States, both on a current basis and in

  the past. In determining my firm’s hourly rates from year to year, I have consciously taken

  market rates into account and have deliberately tended to target my firm’s rates to be somewhat

  below the rates charged in the market. One reason I do that is because of the frequency that I

  litigate outside of the New York and California markets.

           42.!      Through my practice, I have become familiar with the non-contingent market

  rates charged by attorneys in New York, California and elsewhere (my firm’s offices are in New

  York City and California). This familiarity has been obtained in several ways: (a) by litigating

  attorneys’ fee applications;            (b) by discussing fees with other attorneys; (c) by obtaining

  declarations regarding prevailing market rates filed by other attorneys seeking fees; and (d) by

  reviewing attorneys’ fee applications and awards in other cases, as well as surveys and articles

  on attorneys’ fees in the legal newspapers and treatises. The information I have gathered shows



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  that my firm’s rates are in line with the non-contingent market rates charged by attorneys of

  reasonably comparable experience, skill, and reputation for reasonably comparable class action

  work.     In fact, comparable hourly rates have been found reasonable by various courts for

  reasonably comparable services, including:

                     a.! In re TFT-LCD (Flat Panel) Antitrust Litigation (N.D. Cal. 2013) No. M 07

                          1827 SI, MDL, No. 1827, an antitrust class action, in which the court found

                          blended hourly rates of $1000, $950, $861, $825, $820, and $750 per hour

                          reasonable for the lead class counsel.

                     b.! Williams v. H&R Block Enterprises, Inc. Alameda County Superior Ct. No.

                          RG08366506, Order of Final Approval and Judgment filed November 8,

                          2012, a wage and hour class action, in which the court found the hourly rates

                          of $785, $775, and $750 reasonable for the more senior class counsel.

                     c.! Luquetta v. The Regents of the Univ. of California, San Francisco Superior Ct.

                          No.CGC-05-443007, Order Granting Plaintiff’s Motion for Common Fund

                          Attorneys’ Fees and Expenses, filed October 31, 2012, a class action to

                          recover tuition overcharges, in which the court found the hourly rates of $850,

                          785, and 750, and 700 reasonable for plaintiffs’ more experienced counsel.

                     d.! Pierce v. County of Orange (C.D. Cal. 2012) 905 F.Supp.2d 1017, a civil

                          rights class action brought by pre-trial detainees, in which the court approved

                          a lodestar-based, inter alia, on 2011 rates of $850 and $825 per hour.

                     e.! Holloway et. al. v. Best Buy Co., Inc. (N.D. Cal. 2011) No. 05-5056 PJH

                          (Order dated November 9, 2011), a class action alleging that Best Buy

                          discriminated against female, African American and Latino employees by



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                          denying them promotions and lucrative sales positions, in which the court

                          approved lodestar-based rates of up to $825 per hour.

                     f.! Californians for Disability Rights, Inc., et al. v. California Department of

                          Transportation, et al. (N.D. Cal. 2010) 2010 U.S. Dist. LEXIS 141030,

                          adopted by Order Accepting Report and Recommendation filed February 2,

                          2011, a class action in which the court found reasonable 2010 hourly rates of

                          up to $835 per hour.

                     g.! Credit/Debit Card Tying Cases, San Francisco County Superior Court, JCCP

                          No. 4335, Order Granting Plaintiffs’ Motion for Attorneys’ Fees, Expenses,

                          and Incentive Awards, filed August 23, 2010, an antitrust class action, in

                          which the court, before applying a 2.0 lodestar multiplier, found reasonable

                          2010 hourly rates of $975 for a 43-year attorney, $950 for a 46-year attorney,

                          $850 for 32 and 38 year attorneys, $825 for a 35-year attorney, $740 for a 26-

                          year attorney, $610 for a 13-year attorney, $600 for a 9-year attorney, and

                          $485 for a 5-year attorney.

                     h.! Qualcomm, Inc. v. Broadcom, Inc. Case No. 05-CV-1958-B, 2008 WL

                          2705161 (S.D. Cal. 2008), in which the court found the 2007 hourly rates

                          requested by Wilmer Cutler, Pickering, Hale & Dorr LLP reasonable; those

                          rates ranged from $45 to $300 for staff and paralegals, from $275 to $505 for

                          associates and counsel, and from $435 to $850 for partners.

           43.!      For work performed by firms that were not part of Leadership, I only sought time

  records in this case for work specifically assigned by Class Counsel. While many firms filed

  complaints and incurred filing fees, I did not seek records for that time because I did not think it



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  was reasonable to submit such time and expense to this Court for reimbursement. Ultimately, I

  determined that it was most fair to only submit time and expense that directly benefited the class,

  which, with the exception of certain work involving the testing of products, was all performed

  after the appointment of Leadership. Additionally, there was no reasonable way to assure that

  any previously incurred time was not duplicative and was for the benefit of the Class. While I do

  describe the time expended by Class Counsel and the Executive Committee during that period in

  this narrative for informational purposes, none of that time is included in the total hours, lodestar

  and expenses for which reimbursement is being sought. The inclusion of these hours in the grid

  is simply for the reference of the Court, and for the Court to see the volume and scope of work

  that was performed in the initial investigation of the case by the Leadership.

           44.!      The total lodestar incurred and included in this fee application is $2,900,213. The

  total of expenses incurred, for which reimbursement is sought, is 152,054. Thus, when applying

  a multiplier for purposes of performing a lodestar cross check, the multiplier is approximately

  2.7. I calculated this by taking the total amount sought ($8,000,000), and subtracting the total

  expenses ($152,054). This leaves $7,847,946 available for fees, which I then divided by a

  lodestar of $2,900,213 to yield a multiplier of 2.7.

           45.!      This results in a fee percentage of 24.5%. As detailed in the accompanying

  Memorandum in Support of Attorneys’ Fees and Expenses, fee awards of up to 33% are

  regularly approved in the Eighth Circuit, and when a lodestar cross check is evaluated a

  multiplier of 2.7 is well within the range considered reasonable. Had all firms with lodestar

  calculated in Exhibit A charged billed at a maximum partner billing rate of $650, the lodestar

  cross check would still be below a 3.0.




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           46.!      Attached as Exhibit A is a chart, by law firm, for each firm that performed any

  work at the direction of Class Counsel and for the benefit of the Class. For each firm, the chart

  provides a breakdown of the hours and billing rate for each attorney or paralegal that expended

  time. However, attorneys whose involvement was primarily document review were grouped

  together by firm and document review hours were billed uniformly at $300 per hour, which was

  the minimum seniority level involved in the review, irrespective of whether an attorney who

  reviewed and coded the documents was in fact more senior, and ordinarily billed at a higher

  billing rate.      During the process of compiling this Application, over 900 hours of time

  collectively incurred by Leadership was cut, either because it was incurred prior to the

  appointment of Leadership, or because the hours were found to be duplicative. These eliminated

  hours reflect approximately $400,000 in hourly fees incurred that were excluded from the

  lodestar.

           47.!      Attached as Exhibit B is a chart summarizing the major litigation phases set forth

  in the rows, and each firm that expended hours (at the direction of Class Counsel and for the

  benefit of the Class) listed in the columns. The resulting grid allows for a determination of

  whether a reasonable amount of time was expended in each area of litigation. I believe this chart

  is responsive to the request made by the Court at the Preliminary Approval Hearing and in

  conjunction with my declaration will permit the Court to fully evaluate the propriety of our

  expenditure of time.

           48.!      Attached as Exhibit C is a chart of the expenses incurred for which

  reimbursement is being sought. Firms that ordinarily bill their clients for electronic research or

  office expenses such as copies, facsimiles, administration, or phone calls have included such

  expenses. Specifically excluded were all filing fees and other expenses incurred prior to the



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  appointment of Leadership. Duplicative initial filings simply do not provide a colorable benefit

  to the class. The great majority of expenses were expert fees andcosts associated with electronic

  discovery. Each member of the Leadership contributed $20,000 toward the payment of those

  common costs.

           49.!      Because the fee to be awarded in this matter is entirely contingent, the only

  certainty from the outset was that there would be no fee without a successful result, and that such

  a result would be realized only after a lengthy and difficult effort.

           50.!      Plaintiffs’ success in this action was by no means assured. Defendants were

  represented by able counsel, who raised numerous affirmative defenses, and were sure to mount

  a substantial challenge to class certification. Were this settlement not achieved, and even if

  Plaintiffs prevailed at trial, Plaintiffs faced potentially years of costly and risky appellate

  litigation against Defendant, the ultimate success of which is far from certain. It are this risks that

  support the concept of lodestar multiplier and percentage recoveries.

           51.!      For all of the foregoing reasons, Class Counsel respectfully requests that this

  Court approve the Settlement, approve the Fee Application, and award class counsel $8,000,000

  in fees and expenses.

           52.!      I declare under penalty of perjury under the laws of the United States of America

  that the foregoing is true and correct.

  Executed on May 12, 2016
  Essex County, New Jersey.

                                                  _________________________________________
                                                  Scott A. Kamber




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                                                               EXHIBIT A
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KamberLaw,	  LLC	  /	  LLP
                                              Level              Seniority                     Rate                      Hours                  Lodestar
SAK                                        Partner                >20	  years                    $700                     547.20               $383,040.00
DK                                         Partner                >20	  years                    $680                     545.50               $370,940.00
JPK                                        Attorney                      2008                     $375                     198.20                 $74,325.00
Doc	  Reviewer(s)*                        Attorney                >3	  years                    $300                   2,253.30               $675,990.00
CD                                         Paralegal                       NA                     $180                      28.50                  $5,130.00
                                                                                                                         3,572.70              $1,509,425.00



The	  Simon	  Law	  Group
                                              Level              Seniority                     Rate                      Hours                  Lodestar
JGS                                        Partner                >20	  years                    $775                      79.80                $61,845.00
RAK                                        Associate                     2009                     $400                     383.60               $153,440.00
TMC                                        Associate                     2010                     $400                       1.50                   $600.00
Doc	  Reviewer(s)*                        Attorney                >3	  years                    $300                     976.90               $293,070.00
law	  clerk                               Paralegal                       NA                     $180                      35.90                 $6,462.00
paralegal                                  Paralegal                       NA                     $180                       15.4                 $2,772.00
                                                                                                                         1,493.10               $518,189.00



Gray,	  Ritter	  &	  Graham,	  P.C.
                                               Level             Seniority                     Rate                      Hours                  Lodestar
DMD                                        Principal              >20	  years                    $650                      79.40                $51,610.00
GG                                         Principal              >20	  years                    $600                     127.00                $76,200.00
JDS                                        Member                        2007                     $375                       4.60                 $1,725.00
KB                                         Member                        2008                     $300                     161.00                $48,300.00
Doc	  Reviewer(s)*                        Attorney                >3	  years                    $300                     507.00               $152,100.00
JS                                         Paralegal                       NA                     $175                       2.00                   $350.00
                                                                                                                           881.00               $330,285.00



Steelman,	  Gaunt	  &	  Horsefield
                                              Level              Seniority                     Rate                      Hours                  Lodestar
DS                                         Partner                >20	  years                    $700                      58.70                $41,090.00
SG                                         Partner                >20	  years                    $550                     278.00               $152,900.00
Doc	  Reviewer(s)*                        Attorney                >3	  years                    $300                     410.00               $123,000.00
JG                                         Paralegal                       NA                     $180                      14.50                 $2,610.00
WR                                         Paralegal                       NA                     $180                       1.00                   $180.00
                                                                                                                           762.20               $319,780.00



Bursor	  &	  Fisher,	  P.A.
                                              Level              Seniority                     Rate                      Hours                  Lodestar
JIM                                        Partner                    2002                        $680                     137.20                $93,296.00
FJK                                        Associate                  2013                        $350                     354.80               $124,180.00
RSR                                        Paralegal                     NA                       $180                      28.10                 $5,058.00
                                                                                                                           520.10               $222,534.00



                                                               GROSS	  TOTALS                                            7,229.10             $2,900,213.00

*Document	  review	  time	  was	  always	  performed	  by	  attorneys	  familiar	  with	  the	  case	  and	  
posessing	  no	  less	  than	  three	  years	  experience.	  Review	  time	  may	  include	  hours	  of	  reviewers	  at	  
above	  listed	  firms	  as	  well	  as	  document	  reviewers	  from	  other	  firms	  for	  which	  listed	  firm	  had	  
responsibility	  for	  document	  review	  and	  related	  analysis.
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                                                               EXHIBIT B
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HOURS PER FIRM PER TASK
(hours	  rounded	  to	  nearest	  whole	  number)
                                                                                                                         TOTAL
                                                         KLaw       SG&H         GR&G         SLG           B&F
                                                                                                                         HOURS
Conduct initial investigation; draft & file
complaints
Engage in MDL practice
Engage in lead counsel motion practice

Conduct further investigation, legal research;
including evaluation of potential lead plaintiffs;
preparation of amended complaint; planning, file           96         66          119           114           74             470
organization and schedule due dates; prepare for
and attend status conferences

Conduct discovery; including procedural tasks
such as rule 16 report drafting; meet & confer
with opposing counsel; attend conference; draft
protective order & amended protective order;
initial disclosures; informal discovery requests to        210        54           13           162           97             536
Purina; prepare, serve and negotiate third party
discovery; prepare for deposition; analyze
pleadings and briefing schedules; prepare for and
attend status conferences
Conduct discovery; including document review
and analysis related; leadership coordination on
task assignments, issues and strategy; analyze            2,569      498          511          1,003          11           4,592
third-party complaints; prepare for and attend
status conferences; purina materials
Respond to discovery requests; including
document production, scheduling, client
                                                           27         31           21           62            36             177
preparation, interaction and document
preservation
Retention and working with experts; including
evaluation of lab testing in discovery,research,
                                                           119                     1            48            5              173
hiring, work related to independent lab analysis,
research re expert work, meetings.
Prepare motion for class certification; including
                                                           96         21                        4             68             189
strategy, research, drafting and work with expert
Mediation; including preparation, calls with
mediator, attendance and travel thereto; follow            47                                   63            27             137
up and mediation papers
Settlement; including continue negotiations;
draft settlement agreement & notices; prepare
                                                           223        44          106           24            62             459
papers for preliminary approval; prepare second
amended complaint; attend prelim app hearing
Claims administration process; including
management of notice campaign; calls and
meetings with claims administrator and                     87                                   13            53             153
defendant; monitor claims process; class
member contacts
Prepare papers for final approval                          49         24           55                         43             172

Total Hours                                                 3,572          762          881         1,493          520     7,229
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                                                               EXHIBIT C
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EXPENSES, BY FIRM THAT PAID

                                    KLaw                SG&H             GR&G       SLG                          B&F              TOTAL
Office expense (phone/fax/copies)           *              $69.12         $1,019.81                  $470.85        *                      $1,559.78
Electronic Research & PACER                 *              $31.40         $5,434.72                  $330.11          $470.74              $6,266.97
Electronic Discovery Services          $37,809.33                                                                                        $37,809.33
Expert Witness Fees                    $77,800.00                                                 $3,726.74                              $81,526.74
Transcripts                              $3,925.00                                                                    $462.12              $4,387.12
Travel and Meals                       $11,954.95 $1,188.16                                       $2,456.84 $4,904.63                    $20,504.58

Total:                                $131,489.28 $1,288.68 $6,454.53                             $6,984.54 $5,837.49                  $152,054.52


                                    *These	  expenses	  have	  not	  been	  billed	  for	  this	  matter	  by	  the	  applicable	  firms.
                                    **	  Each	  member	  of	  the	  executive	  committee	  contributed	  $20,000	  to	  the	  expenses	  
                                    incurred	  for	  expenses	  disbursed	  by	  KamberLaw.
